Case 1:25-cv-00128-JJM-AEM              Document 66      Filed 05/30/25      Page 1 of 6 PageID #:
                                              1569



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF RHODE ISLAND


 STATE OF RHODE ISLAND, et al.,

                        Plaintiffs,

         v.
                                                         No. 25-cv-00128
 DONALD J. TRUMP, in his official
 capacity as President of the United States,
 et al.,

                        Defendants.


                      DEFENDANTS’ REPLY IN SUPPORT OF THEIR
                        MOTION FOR A STAY PENDING APPEAL

       This Court should grant Defendants’ Motion for a Stay Pending Appeal, ECF No. 63. As

previously explained, a stay of the injunction pending their appeal of this Court’s Memorandum

and Order, ECF No. 57, and Preliminary Injunction Order, ECF No. 60, is warranted because the

appeal is likely to succeed, any funds disbursed pursuant to the injunction would be

unrecoverable, and a stay would ease the administrative strain on the Agency Defendants

pending the First Circuit’s decision.

   A. Defendants Could Not Have Negotiated a Preliminary Injunction Order Narrower
      than the Court’s Ruling

       Plaintiffs’ primary objection is that to the extent Defendants contest the scope of the

injunction, they have waived such argument by not asserting it during the brief period when the

Court considered the precise language of the injunction. ECF No. 65 at 6–9. This argument

misconstrues the procedural history. While the Court generously provided the parties an

opportunity to comment on the text of the order after it rendered its opinion granting Plaintiffs’

Motion for Preliminary Injunction, it did not invite the parties to re-litigate the recently argued

                                                  1
Case 1:25-cv-00128-JJM-AEM             Document 66      Filed 05/30/25      Page 2 of 6 PageID #:
                                             1570



Motion. And if Defendants raised substantive issues with the injunction after the Court ruled,

Plaintiffs would have surely claimed that Defendants were “repeating the same argument this

Court previously rejected”—just as they do now as to jurisdiction. See ECF No. 65 at 9.

Plaintiffs cannot have it both ways.

       To recap, Plaintiffs’ Motion for Preliminary Injunction initially requested sweeping

relief—an injunction of any actions taken by Defendants to implement Executive Order 14,238.

See ECF No. 3 at 45. At oral argument, Plaintiffs narrowed that request to the three agencies at

issue and only with respect to the named Plaintiffs. See Transcript at 29:2–33:4. With that

representation, the Court’s May 6, 2025, Memorandum and Order granted Plaintiffs’ Motion and

directed Plaintiffs to “prepare and submit to the Court a preliminary injunction form order, after

consultation with the Defendants.” ECF No. 57 at 49 (emphasis added). After good faith but

failed efforts to reach agreement with Defendants on the text of the order, Plaintiffs unilaterally

submitted a proposed order. ECF No. 58. Defendants responded, noting that Plaintiffs’ proposal

did not comply with the Federal Rule of Civil Procedure 65(d)(1)’s specificity requirements.

ECF No. 59 at 1. The Court subsequently circulated a revised draft and invited the parties to

submit edits for its consideration. See ECF No. 65, Exhibit A at 4.

       The Court’s Memorandum and Order, ECF No. 57, necessarily cabined Defendants’

suggested edits to the draft preliminary injunction order. While Defendants disagree with the

Court’s preliminary injunction determinations, Defendants could not change those findings and

conclusions through suggested modifications to the text of the proposed order. Instead,

Defendants proposed edits to Plaintiffs’ proposal to ensure it did not misconstrue or improperly

expand the scope of the Court’s Memorandum and Order

       The jurisdictional example proves this point. Defendants disagree that the Court has

jurisdiction to order the reinstatement of employees or grants, see ECF No. 41 at 13–20, but the
                                                 2
Case 1:25-cv-00128-JJM-AEM           Document 66        Filed 05/30/25      Page 3 of 6 PageID #:
                                           1571



Court rejected those arguments, ECF No. 57 at 14–21. As such, in providing suggested edits to

the proposed order, Defendants could not have eliminated or narrowed the provisions of the

Order that require reinstatement. As another example, although Defendants noted that the

Executive Order called for the reduction of agency functions to statutory minimums consistent

with applicable law, ECF No. 41 at 4 and Transcript at 63:6–14, the Court held that the Agency

Defendants’ Executive Order implementation actions failed to comply with the Agencies’

statutory mandates, ECF No. 57 at 38–39. Defendants could not have suggested provisions in

the proposed order that would be inconsistent with the Court’s determinations. At bottom, the

notion that Defendants could have raised substantive disagreements with the Memorandum and

Order, as opposed to edits designed to clarify the text of the order, through the Court’s generous

request for comment is simply wrong.

       In support of the Motion for Stay, Defendants have pointed to their disagreement with the

merits of the Court’s Preliminary Injunction Order and have highlighted that the Order requires

actions above and beyond preserving the Agency Defendants’ statutory minimums—indeed, the

Order requires complete reversal of all Executive Order implementation efforts. Because

Defendants’ appeal is likely to succeed for the reasons previously stated, Defendants seek a stay

to prevent any additional and potentially unrecoverable expenditures, particularly in the absence

of a bond. As Defendants have emphasized, Defendants will preserve the activities required by

statute. ECF No. 63 at 6. This would balance Plaintiffs’ purported interests in protecting agency

operations while avoiding potentially irreversible harm pending appeal.

   B. Plaintiffs’ Remaining Arguments Fail.

       Plaintiffs fundamentally misunderstand the declarations submitted in support of the

Motion for Stay. Defendants did not submit the declarations to alter or undermine the Court’s

Preliminary Injunction Order. Instead, as is standard practice at this stage, the declarations
                                                 3
Case 1:25-cv-00128-JJM-AEM            Document 66        Filed 05/30/25     Page 4 of 6 PageID #:
                                            1572



merely highlight the need for a stay pending appeal to avoid unrecoverable losses should

Defendants prevail on appeal and the significant burdens imposed by compliance in the interim.

See ECF No. 63. These are not facts that could have been adduced before the Preliminary

Injunction Order because they stem from Defendants’ efforts to comply with the Order

ultimately issued. The resources expended on additional Preliminary Injunction Order

compliance, including the funding of grants that the agency would otherwise lawfully terminate,

would, therefore, be forever lost.

       Moreover, Plaintiffs perplexingly argue that Defendants’ Motion for Stay fails because it

does not contest the Court’s legal conclusions, ECF No. 65 at 5, but also argue that the Motion

repeats “the same arguments the Court previously rejected,” id. at 9. As the Motion for Stay

highlights, Defendants respectfully disagree with the Court’s conclusions, and submit that it is

likely that the First Circuit will agree with their arguments. Defendants nonetheless emphasized

their view that the Supreme Court’s California decision is dispositive. Defendants’ Motion also

explains that the Agency Defendants are poised to expend millions of taxpayer dollars in

complying with the Preliminary Injunction Order. If the First Circuit agrees with Defendants’

jurisdictional arguments, these expenditures are entirely unrecoverable and, therefore,

irreparable. Defendants’ Motion, therefore, underscores the need for a stay pending the First

Circuit’s resolution of unsettled legal questions.

       Finally, Plaintiffs suggest that Defendants have made an “about-face” in relying on

economic damages to show irreparable harm to the Government but eschewing it to show

irreparable harm to Plaintiffs. ECF No. 65 at 12. They ignore that different law applies to the

different parties; what is irreparable to one is not to the other. Plaintiffs can pursue damages

against the Government in the Court of Federal Claims, but the Government has no such remedy.

Nor can Plaintiffs overcome Defendants’ irreparable harm arguments by contrasting Defendants’
                                                     4
Case 1:25-cv-00128-JJM-AEM           Document 66        Filed 05/30/25      Page 5 of 6 PageID #:
                                           1573



alleged “unlawful actions” in terminating grants here, id. at 13, with terminations for

noncompliance, which they acknowledge are subject to the jurisdictional strictures of the Tucker

Act, id. at 11. The Government can lawfully terminate grants not only for noncompliance but

also “if an award no longer effectuates the program goals or agency priorities.” 2 CFR

200.340(a)(4).

       Accordingly, Defendants request that this Court enter a stay of the preliminary injunction

pending appeal.


Dated: May 30, 2025                           Respectfully submitted,

                                              YAAKOV M. ROTH
                                              Acting Assistant Attorney General

                                              ERIC J. HAMILTON
                                              Deputy Assistant Attorney General
                                              Civil Division, Federal Programs Branch

                                              JOSEPH E. BORSON
                                              Assistant Branch Director
                                              Federal Programs Branch

                                              /s/ Abigail Stout
                                              ABIGAIL STOUT
                                              (DC Bar No. 90009415)
                                              Counsel
                                              U.S. Department of Justice
                                              Civil Division
                                              950 Pennsylvania Avenue, NW
                                              Washington, DC 20530
                                              Telephone: (202) 514-2000
                                              Email: Abigail.Stout@usdoj.gov

                                              /s/_Heidy L. Gonzalez____________
                                              JULIA A. HEIMAN (D.C. Bar No. 986228)
                                              HEIDY L. GONZALEZ (FL Bar No. 1025003)
                                              Trial Attorneys
                                              U.S. Department of Justice
                                              Civil Division, Federal Programs Branch
                                              1100 L Street, N.W.
                                              Washington, DC 20005
                                                 5
Case 1:25-cv-00128-JJM-AEM   Document 66    Filed 05/30/25    Page 6 of 6 PageID #:
                                   1574



                                   Tel. (202) 598-7409
                                   heidy.gonzalez@usdoj.gov

                                   Attorneys for Defendants




                                     6
